       Case 1:25-cv-01413-LJL           Document 164         Filed 07/16/25       Page 1 of 2


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                                                                               July 16, 2025

BY CM/ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:       Metro. Transp. Auth., et al. v. Duffy, et al., No. 25 Civ. 1413 (LJL)

Dear Judge Liman,

        We write on behalf of Plaintiffs the Metropolitan Transportation Authority (“MTA”) and
Triborough Bridge and Tunnel Authority (“TBTA”) pursuant to the parties’ joint letter-motion to
expedite dated June 5, which was “So Ordered” by the Court on June 6 and requires that the parties
propose page limits for their forthcoming consolidated summary judgment opposition-reply briefs.
ECF 139 at 2. Counsel for the parties have conferred and agree that each side should have 50 pages
for their consolidated opposition-reply briefs, given the number of issues raised by the briefing to
date. In addition, pursuant to an agreement between counsel for Defendants and counsel for the
MTA and TBTA, which resolved a dispute as to whether Defendants’ opening brief was properly
formatted in accordance with Local Civil Rule 7.1, the parties agree that Plaintiffs and Intervenor-
Plaintiffs should collectively have an additional six pages, i.e., up to 56 pages, for their opposition-
reply briefs.

        Accordingly, we respectfully request that the Court enter the following order governing the
parties’ forthcoming submissions:

       •   Defendants’ consolidated opposition-reply brief will not exceed 50 pages, excluding
           nonsubstantive pages; and
       Case 1:25-cv-01413-LJL         Document 164        Filed 07/16/25       Page 2 of 2




       •   Plaintiffs and Intervenor-Plaintiffs will file one or more consolidated opposition-reply
           briefs with a total combined length not to exceed 56 pages, excluding nonsubstantive
           pages.

       Counsel conferred on July 16, and all parties consent to the proposed page limits.



                                                     Respectfully submitted,




                                                     Roberta A. Kaplan



cc:   Counsel of Record (via ECF)




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